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IN THE UNITED sTATES DISTRICT CoURT c.
FoR THE WESTERN DISTRICT oF TENNESSEE 95 JUL 2 l
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UNITED STATES OF AMERICA, - f -»

vs. NO. 2:04cr20382-001 B
LEWELLYN MUHAMMED,

DEFENDANT

 

CONSENT ORDER ON MOTION TO MODIFY BAIL CONDITIONS

 

Before the Court is defendant’s Motion to Modify Bail Conditions as previously
set so as to allow the defendant to travel to the State of Louisiana to visit his parents By
consent of the parties the Court finds that the defendant’s motion is Well taken and by
order of this Court the defendant is hereby granted leave to travel to the State of
Louisiana so as to visit his family. The defendant must exercise this order within 30 days
and he shall be allowed a maximum of 5 days duration for said visit.

tr rs so oRDERED this 20th day OfJuiy, 2005.

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MAoIsTRATE JUDGE ANDERsoN

Thls document ordered on the docket sheet in cotrSittance
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Case 2:04-cr-20382-.]DB Document 44 Filed 07/21/05 Page 2 of 3 Page|D 55

APPROVED:

 

    

red H. Godwin
Assistant United States Attorney
167 N. Main Street, Ste. 800
Memphis, TN 38103

   

UNITED sTATE D"ISIC COUR - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
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Honorable J. Breen
US DISTRICT COURT

